Case 19-31443-hdh11 Doc 1 Filed 04/30/19   Entered 04/30/19 02:25:29   Page 1 of 4
Case 19-31443-hdh11 Doc 1 Filed 04/30/19   Entered 04/30/19 02:25:29   Page 2 of 4
Case 19-31443-hdh11 Doc 1 Filed 04/30/19   Entered 04/30/19 02:25:29   Page 3 of 4
Case 19-31443-hdh11 Doc 1 Filed 04/30/19      Entered 04/30/19 02:25:29      Page 4 of 4




                      /s/ Michael P. Cooley                     04/29/2019




                                                        Scanned with CamScanner
